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         ABC CREDIT & RECOVERY SERVICES, IT,{C.
                 Collections, Credit Reporting & Recovery Services For Business




June22,2023


Ms. Dawn Moreno
Clerk for Judge Honorable Mary Il. Rowland
United States District Court
Northern District of Illinois


RE: Raslan v. ABC Credit & RecoVefy..,). case number 1:23-cv-1909, - Llotion to Vacate a-nd for an
Extension of Time


Dear Ms. Moreno:


Please help us file a motion to vacate for an Extension of Time. We are av,'aiting feedback from our
insurance company on this matter. The following facts follow;

 1. I am the owner of ABC Credit & Recorrery Sen'ices lnc.
2. That I was made aware of the order setting the trr:re to file a }loticn t,r Vacate until June 22,2A23
 3.    I sent the complaint to my insurance company for hanciiing.

 4.    I do not have a response from my insurance company on this and the best way tc Cefeld the acticn

 5.    I am requesting that the technical defariit be vacated and that ABC Credit & Recovery
 Services,Inc..have 30 dziys to have counsel hle responsive pleadings.

 6. This is not being filed for purposes of rielay or harassment.
 Sincerely.


      ,// /L,/
                   /
" Joseph M. Speziale
 President
 ABC Credit & Recovery Services Inc
 4736 Main Steet
 #4
 Lisle,Il 60532

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